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NITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

      v.                                                        DECISION AND ORDER
                                                                     08-CR-349S
ALEJANDRO GARCIA MATIAS

                           Defendant.


      1.     On August 10, 2009, the Defendant entered into a written plea agreement

(Docket No. 70) and pled guilty to Count 2 of the Indictment (Docket No. 1) charging a

violation of Title 8, U.S.C. Section 1324(a)(1)(A)(iii) and 1324(a)(1)(B)(i) (Harboring an

Illegal Alien for the Purpose of Commercial Advantage and Private Financial Gain).

      2.     On August 11, 2009, the Honorable Hugh B. Scott, United States Magistrate

Judge, filed a Report and Recommendation (Docket No. 72) recommending that

Defendant’s plea of guilty be accepted and the Defendant adjudicated guilty.

      3.     This Court has not received objections to the Report and Recommendation

in accordance with 28 U.S.C. §636(b)(1)(C) and Local Rule 58.2(a)(3).

      4.     This Court has carefully reviewed de novo Judge Scott’s Report and

Recommendation, the plea agreement, transcript of the proceeding, and the applicable

law. Upon due consideration, this Court finds no legal or factual error in Judge Scott’s

Report and Recommendation, and will accept Judge Scott’s recommendation that

Defendant’s plea of guilty be accepted and that the Defendant be adjudicated guilty as

charged.
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       IT HEREBY IS ORDERED, that this Court accepts Judge Scott’s Report and

Recommendation (Docket No. 72) in its entirety, including the authorities cited and the

reasons given therein.

       FURTHER, that the plea of guilty of Defendant Alejandro Garcia Matias is accepted,

and he is now adjudged guilty of Title 8, U.S.C. 1324(a)(1)(A)(iii) and 1324(a)(1)(B)(i).

       SO ORDERED.


Dated: September 10, 2009
       Buffalo, New York


                                                        /s/ William M. Skretny
                                                         WILLIAM M. SKRETNY
                                                       United States District Judge




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